        Case: 3:24-cv-00867-amb Document #: 2 Filed: 12/06/24 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

REPUBLICAN PARTY OF WISCONSIN and
BRIAN SCHIMMING,

                       Plaintiffs,
v.

TONY EVERS, In his official capacity as Governor of
the State of Wisconsin,
                                                                  Case No.: 3:24-cv-867
MEAGAN WOLFE, In her official capacity as
Administrator of the Wisconsin Elections Commission,

and

JOSH KAUL, In his official capacity as Attorney
General for the State of Wisconsin,

                       Defendants.


             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


       Plaintiffs Republican Party of Wisconsin and Brian Schimming, by and through their

attorneys, Cramer Multhauf LLP, and pursuant to Fed. R. Civ. P. 65, submit the following

Motion for a Preliminary Injunction and, in support of Plaintiffs’ motion, states as follows:

       1.      The Republican Party of Wisconsin and its Chairman, Brian Schimming, have

filed a lawsuit against Defendants Tony Evers, Meagan Wolfe, and Josh Kaul because of a

pressing conflict in state and federal election laws regarding when Wisconsin presidential

electors need to meet to cast their votes for the Electoral College.

       2.      Schimming has been appointed as a presidential elector by the Republican Party

of Wisconsin and intends to participate in the meeting of the electors to cast the state’s ten

electoral votes for President-Elect Donald J. Trump and Vice President-Elect J.D. Vance.
        Case: 3:24-cv-00867-amb Document #: 2 Filed: 12/06/24 Page 2 of 3




       3.      On November 29, 2024, the Wisconsin Elections Commission certified that

Trump and his running mate, Vance, won the state of Wisconsin.

       4.      The Chairwoman of the Wisconsin Elections Commission, Ann Jacobs, certified

the ten presidential electors nominated by the Republican Party of Wisconsin.

       5.      The presidential electors and the Republican Party of Wisconsin are in the process

of coordinating the meeting of these electors to cast their ballots for President and Vice

President.

       6.      Wis. Stat. § 7.75(1) states that the electors are supposed to meet on the first

Monday after the second Wednesday in December which this year would be Monday, December

16.

       7.      But that date conflicts with 3 U.S.C. § 7, which identifies that the presidential

electors shall meet on the first Tuesday after the second Wednesday in December, which this

year would be Tuesday, December 17.

       8.      The federal and state dates are in conflict and the federal statute should preempt

the state-imposed date for the electors meeting.

       9.      Accordingly, the Plaintiffs seek by this motion a preliminary injunction against

the enforceability and validity of Wis. Stat. § 7.75(1) until the matters set forth in the Plaintiffs’

Complaint are heard on the merits.

       10.     As set forth in the accompanying brief in support, this situation requires a

preliminary injunction from the court because the Plaintiffs can demonstrate: “(1) they will

suffer irreparable harm in the period before final resolution of their claims; (2) traditional legal

remedies are inadequate; and (3) the claim has some likelihood of success on the merits.” Jones

v. Markiewicz-Qualkinbush, 842 F.3d 1053, 1058 (7th Cir. 2016). The Court then must consider




                                                   2
        Case: 3:24-cv-00867-amb Document #: 2 Filed: 12/06/24 Page 3 of 3




the harm against the Defendants if relief is granted and the public interest in granting an

injunction. Cassell v. Snyders, 990 F.3d 539, 545 (7th Cir. 2021). Both of these considerations

weigh in the Plaintiffs’ favor as the public will benefit from the Court clarifying the proper date

for the presidential electors to meet and will not harm the Defendants.

       11.     For these reasons and those set forth in the accompanying brief in support of

Plaintiff’s motion, Plaintiffs respectfully request that this Motion be granted and that this Court

issue a temporary injunction declaring Wis. Stat. § 7.75(1) preempted by 3 U.S.C. § 7.

       12.     Plaintiffs request a hearing on this motion as soon as the Court’s calendar allows.




       Dated this 6th day of December, 2024.


                                             CRAMER MULTHAUF LLP
                                             Attorneys for Plaintiffs,


                                          By: Electronically signed by Matthew M. Fernholz
                                                   Matthew M. Fernholz (SBN: 1065765)
                                                   Charlie P. Hoffmann (SBN: 1129327)



CRAMER MULTHAUF LLP
1601 East Racine Avenue • Suite 200
P.O. Box 558
Waukesha, WI 53187-0558
(262) 542-4278
mmf@cmlawgroup.com
cph@cmlawgroup.com




                                                3
